                              UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF NORTH CAROLINA
                                   CHARLOTTE DIVISION
                             DOCKET NO. 3:05-cr-00104-FDW-DSC
    UNITED STATES OF AMERICA                            )
                                                        )
           Plaintiff,                                   )
                                                        )
    vs.                                                 )
                                                        )                          ORDER
    BRIAN JEROME WISE,                                  )
                                                        )
           Defendant.                                   )
                                                        )
                                                        )

          THIS MATTER is before the Court, sua sponte, following administrative review of the

docket and discovery of a clerical error in this matter. On September 14, 2006, the United States

moved to dismiss the charges against Defendant Brian Jerome Wise in this case because on July

5, 2006, the Honorable Richard L. Voorhees sentenced Defendant to 240 months incarceration in

the separate case of United States v. Timothy X. Davis, et al, 3:04-cr-39-RLV. (Doc. No. 337; see

also US v. Davis, 3:04-cr-39, Doc. No. 279.) The undersigned granted the motion to dismiss the

charges against Defendant in the instant case on October 3, 2006. (Doc. No. 345.)

          Despite entering an order denying a sentence reduction pursuant to 18 U.S.C. § 3582(c)(2)

in the US v. Davis case (see 3:04-cr-39, Doc. No. 458), the Court also inadvertently entered an

almost-identical order in the above-captioned case.1 See Doc. No. 862. Because the Court had

previously granted the motion to dismiss charges against Defendant in the case at bar, the Court




1
  Aside from the identification of the “Case No.” and the one-day difference in the signature date, the Orders are
identical, including reference to the “Date of Original Judgment: August 1, 2006.” The August 1, 2006, judgment
issued only in the US v. Davis (3:04-cr-39) case and formed the basis for the motion to dismiss made and granted in
the case at bar.
                                                        1



      Case 3:05-cr-00104-FDW-SCR                 Document 877           Filed 11/17/17         Page 1 of 2
lacked jurisdiction to enter the Order Regarding Motion for Sentence Reduction Pursuant to 18

U.S.C. § 3582(c)(2). Accordingly, in light of this clerical error, the Court hereby VACATES the

“Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)” (Doc. No.

862) in the above-captioned case. This Order and the ruling contained herein have no impact on

the sentence of Defendant Wise in the case of US v. Davis case (see 3:04-cr-39), or on the Order

Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2) entered in that case.

       IT IS SO ORDERED.




                                   Signed: November 17, 2017




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   Case 3:05-cr-00104-FDW-SCR            Document 877          Filed 11/17/17   Page 2 of 2
